Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 1 of 31

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Lb Are wb Hardy

17CV 9801

(Include case number if one has been
assigned)

Write the full name of each plaintiff.

-against- Do you want a jury trial?

fo fe Ce C.ty BR ecd ey dts et Yes No

lad Sch miedse ker 2
~

Write the full name of each defendant. The names listed eg = =<
above must be identical to those contained in Section |. JUDGE ROMAN

EMPLOYMENT DISCRIMINATION COMPLAINT

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed with
the court should therefore not contain: an individual's full social security number or full birth
date; the full name of a person known to be a minor; or a complete financial account number. A
filing may include only: the last four digits of a social security number; the year of an individual's
birth; a minor’s initials; and the last four digits of a financial account number. See Federal Rule
of Civil Procedure 5.2.

Rev. 3/24/17
Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 2 of 31

I. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

PP tdered L Lil olin

First Name Middle Initial Last Name

q | C teh bigtS BR A

Street Address

Putnam Carme| iV. Z fosi2r
County, City State Zip Code
(Gid) 490-0359 Sel Oe Vakheod. Com
Co + 7
Telephone Number Email Address (if available)

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. {Proper defendants under employment discrimination statutes are usually employers,
labor organizations, or employment agencies.) Attach additional pages if needed.

Defendant: _ Fv fec# Cre x Realty T7Tus¢

Name

[ MeWetech Contin po FL_ #0, hs a
Address where defendant may be served
Kags Li vwty— Rooekl pol VY [ihe
County, City State Zip Code

Defendant 2: St AW Srp me ic ker

Name

L fietroteck. Cahir

Address where defendant may be served

KowSL ETH
Basi Sot Liye Lio |
County, City State Zip Code

Page 2

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 3 of 31

Defendant 3:

Name

Address where defendant may be served

County, City State Zip Code

II. PLACE OF EMPLOYMENT

The address at which I was employed or sought employment by the defendant(s) is:

Ridge py

¥

Name
7 fi “al Ket St
Address
LJestenesnr, Yonkis Wey fb 7/0
County, City State Zip Cade

I. CAUSE OF ACTION

A. Federal Claims

This employment discrimination lawsuit is brought under (check only the options below
that apply in your case):

aw Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e to 2000e-17, for
employment discrimination on the basis of race, color, religion, sex, or national

origin
The defendant discriminated against me because of my (check only those that
apply and explain):

A race: lack

LI color:

C1 religion:

L1 sex:

national origin: vam a Ct)

Page 3

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 4 of 31

C] 42 U.S.C. § 1981, for intentional employment discrimination on the basis of race

My race is:

1 Age Discrimination in Employment Act of 1967, 29 U.S.C. §§ 621 to 634, for
employment discrimination on the basis of age (40 or older)

1 was born in the year:

(] Rehabilitation Act of 1973, 29 U.S.C. §§ 701 to 796, for employment
discrimination on the basis of a disability by an employer that constitutes a
program or activity receiving federal financial assistance

My disability or perceived disability is:

[) Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12101 to 12213, for
employment discrimination on the basis of a disability

My disability or perceived disability is:

C1 Family and Medical Leave Act of 1993, 29 U.S.C. §§ 2601 to 2654, for
employment discrimination on the basis of leave for qualified medical or family
reasons

B. Other Claims
In addition to my federal claims listed above, I assert claims under:

m1 New York State Human Rights Law, N.Y. Exec. Law §§ 290 to 297, for
employment discrimination on the basis of age, race, creed, color, national
origin, sexual orientation, military status, sex, disability, predisposing genetic
characteristics, marital status

AN ew York City Human Rights Law, N.Y. City Admin. Code §§ 8-101 to 131, for
employment discrimination on the basis of actual or perceived age, race, creed,
color, national origin, gender, disability, marital status, partnership status,
sexual orientation, alienage, citizenship status

Other (may include other relevant federal, state, city, or county law):

DeFam ot. on

Page 4

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 5 of 31

IV. STATEMENT OF CLAIM

A. Adverse Employment Action

The defendant or defendants in this case took the following adverse employment
actions against me (check only those that apply):

[1 didnot hire me

LC] terminated my employment

C didnot promote me

C1 did not accommodate my disability

A provided me with terms and conditions of employment different from those of
similar employees

Ae retaliated against me
a Frarassed me or created a hostile work environment
Doth (specify): Detemadtily ASCS ant Wi ethyl
Lathe Ula Lk Place. hemes a4 Ang Chara’ id te Fall fbeples Cf arnt

B. Facts

State here the facts that support your claim. Attach additional pages if needed. You should
explain what actions defendants took (or failed to take) because of your protected
characteristic, such as your race, disability, age, or religion. Include times and locations, if
possible. State whether defendants are continuing to commit these acts against you.

Lie Lhe. batly Black Ledetid Lb At ab ef 24a The Cam Pas Zz abit

f be Lon gtelly head ates AW Basel $ pol? Vel: b nceher bt bile Welt
fe Le. Ld ky ay naw hleck lente fats At pflel Piygathes ca the [efiul,
Avian. By Atovtaradly Oat Lag 24 aceomplthnedt wx BOL
Ela Chmrtare kel auch FER (laeude f al); Spas ide. tp bed
wi the. BGA Afbhlovl be sie Mites L214 ig fulton e AL
Balls, See Eb bacdled Ful fale hetah

As additional support for your claim, you may attach any charge of discrimination that you filed
with the U.S. Equal Employment Opportunity Commission, the New York State Division of
Human Rights, the New York City Commission on Human Rights, or any other government
agency.

Page 5

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 6 of 31
December 14, 2017

B. Facts Continued:

As an employee that has worked my way up with the company for 29 years
including 4 promotions under Forest City Ratner the NY group and including this
particular project since open in (2011) I have had an unblemished record with
nothing but excellent reviews and support from those | have worked with on a daily
basis.

During the review period of 2016 I received several commendations from Senior
Management such as a National energy savings award recognizing my efforts in
implementing strategic and energy reduction initiatives saving the company in
excess of 200k annually. Written congratulations regarding my efforts in supporting
complex transitions to a REIT as well as a new Joint Venture back to back.
spearheading and leading the project management and completion of the new
LOWE'S site pad one of the largest and most important development projects at the
site and overseeing the construction of their building totally outside of my scope of
work.

Alan Schmiedicker purposely and intentionally omitted any and all of my
contributions to the project for 2016 and refused to engage John Bowen whom |
reported to for 8 months out of the review year. While working over and beyond my
written job description and at the request of John Bowen VP and Director of
Operations, my oversight of the construction at Ridge Hill yielded the company
substantial savings when they eliminated the Construction Management Consultant
and the Development team. Under my leadership and direction the following
projects were successfully completed and delivered on time..

LOWE'S Site Pad and commencement of the building.

Encore Shoes

QDOBA Mexican Restaurant

Holiday house

ROCK N JUMP Trampoline park..

¥VVWV W

By purposely and intentionally omitting all of my achievements including
maintaining the day to day functions of the project Mr Schmiedickers intent to cause
financial harm on meritless and baseless untruths while discussing me ina
defamatory manner to others and holding back goal bonuses which were set in
compliance with company standards and met successfully while the other General
Managers with similar or less tasks and responsibilities further supports that based
on my race I was subjected to significantly different standards from my non black
counterparts.

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 7 of 31

December 14, 2017

MR Schmiedicker purposefully and willfully ignored my request for an action plan to
address the concerns he outlined in the review (attached) in which he used to
withhold my merit increase for 2017. He opted to avoid addressing through any
mediation the items referenced in the review. Though the review was vague and
baseless, utilizing the action plan as a measurable tool would have or could have
eliminated the subjective approach to my performance but was intentionally
avoided. While choosing to ignore FCET policy MR Schmiedicker maliciously
avoided using a resource which has been used in the company for other employees
to further harass and create an unpleasant environment for me.

The aggression to harass and demean me continued past the review period as Alan
Schmiedicker commented to me on a visit in May of 2017 that Ridge Hill was the
only “Property he had to travel to” specifically because the investor visit being
conducted by QIC our joint venture Partner did not believe I had a handle on the
market Place suggesting that I was the only incompetent General Manager of the
group. When | asked who specifically had the concern he stated that Joe Tagliolaa
senior member of QIC had made that claim but refused to elaborate on any specifics
to support the statement. The insinuation of my inability to meet with any corporate
visits though I have successfully done so on many occasions was another attempt to
demean me as he specified that Ridge Hill was the only site where the Partners did
not have the confidence in the General Manager. As the only Black General Manager
within the company I was deeply offended by the insinuation of Alan’s comment
attacking my competence as a General Manager.

During the visit referenced above in May of 2017 Alan Schmiedicker took the
opportunity to corner me creating an uncomfortable situation in the Conference
room by confronting me in a threatening manner in which he accused me of
encouraging my Assistant David Shore of going over his head to query the premise
of his bonus.

He advised me that HR advised him that I approved of David proceeding with his
query, which was not the case. His manner was threatening, unprofessional and
unwarranted and displayed a bully mentality to say the least. | advised David of the
event after it occurred and he was offended and shaken by it.

That situation left both David and myself concerned about the bully tactics and
unprofessional behavior displayed by MR Schmiedicker which created a lasting
impact of negativity and fear within the office.

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 8 of 31
December 14, 2017

Alan Schmiedicker has engaged in practices of strategically admonishing me in
conflicts which have arisen with other departments such as security. While on
multiple occasions we have called out verifiable challenges within the department
Alan selectively chose sides with the corporate support in spite of the fact that those
challenges had adverse impacts on the project or created hardships to the property
which currently still exists. Upon a lack of response from our corporate security
regarding the departments inability to maintain proper staffing levels at the project
Alan chimed in on a call in August of 2017 attended by myself, the Security Director
Lakeyma White and the Assistant General Manager David Shore with corporate
security and began to ask me why I was being difficult with them. When I advised
him that we are simply trying to identify the causes and cures of the problem and
why he was not tasking them on the problem his answer was “They don’t work for

”

me.

The continued lack of acknowledgement or any vote of confidence since my
involvement with MR Schmiedicker has only added to the negative environment and
in which those associates who are my reports feel and express even though he is
remotely stationed in our corporate office in OHIO.

Since my involvement with MR Schmiediecker | have had to endure so much stress
within the office as our volatile relationship due to his behavior and actions has
created in cases and instances a hostile environment in which I at times need to
buffer to protect the staff members whom I deal with on a day to day basis to
ensure that they have a healthy work environment within the office.

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 9 of 31
December 14, 2017

In Summary

The negative review and Disparate actions of Mr Schmiedicker has harmed Me
financially, costing me an annual merit increase and significantly lowering my bonus
and has also jeopardized my long-term career prospects with Forest City. The fact
that Mr. Schmiedicker would issue such an assessment of me after having
supervising me for only four months ~ not to mention the previous 28 years of
successful performance within the company- is very concerning. Moreover, the
review is riddled with racially coded criticisms including, but not limited to, that I

a tt,

am “stubborn,” “unwilling to listen,” that I have an “island mentality,” and that he
“must understand that those he talks to may have more experience” than him. As
this is not the first time Mr. Schmiedicker has attempted to undermine Me. In 2011,
he unfairly demoted me to the position of Assistant GM preferring a “different look”
for the role of GM (i.e. Curt Fickeissen, who is Caucasian). Despite the setback, I
continued to work extremely hard, effectively running the project and
demonstrating my value as a GM. Which resulted in me being promoted back to the
title of GM in 2013 while Mr. Schmiedicker was temporarily out of the picture.
Finally, as the only black General In Denying my bonuses while others received
theirs and in utilizing the review to further create financial impact it is clear that

there was an intent to harm me financially for some reason.

Accordingly, it seems that Alan Schmiedicker and Forest City’s conduct has violated
Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e, et seq., the New York
State Human Rights Law, N.Y. Executive Law §§ 290, ef seq., and the New York City
Human Rights Law, New York City Administrative Code §§ 8-101, et seq. And is the
basis for this complaint.

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 10 of 31

Vv. ADMINISTRATIVE PROCEDURES

For most claims under the federal employment discrimination statutes, before filing a lawsuit,
you must first file a charge with the U.S. Equal Employment Opportunity Commission (EEOC)
and receive a Notice of Right to Sue.

Did you file a charge of discrimination against the defendant(s) with the EEOC or any
other government agency?

(’ Yes (Please attach a copy of the charge to this complaint.)
When did you file your charge? Cf-R7~-/ 7

CT) No
Have you received a Notice of Right to Sue from the EEOC?
Yes (Please attach a copy of the Notice of Right to Sue.)

What is the date on the Notice? oO wee 7-7
When did you receive the Notice? Lb ~ 4 o-f 7
[1 No
VI. RELIEF

The relief I want the court to order is {check only those that apply):
[1 direct the defendant to hire me

direct the defendant to re-eemploy me

direct the defendant to promote me

direct the defendant to reasonably accommodate my religion

OMOoOd CG

direct the defendant to reasonably accommodate my disability

WX direct the defendant to (specify) (if you believe you are entitled to money
damages, explain that here)

one bvenet pathdil  Cevepivcee £2 beet tl for. bey
yen war kech ples 3 (a0 Ang ( Jo ft berthed f Rel) atl
Mttleed Sef Gime -[lo - 617 Pitot Fre feaje bbl
entitled howeses pale Shi; ph RO) 9 fet fit Lrtore

Page 6

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 11 of 31

VIL. PLAINTIFF’S CERTIFICATION

By signing below, I certify to the best of my knowledge, information, and belief that:

(1) the complaint is not being presented for an improper purpose (such as to harass,
cause unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are
supported by existing law or by a nonfrivolous argument to change existing law; (3) the
factual contentions have evidentiary support or, if specifically so identified, will likely
have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Federal
Rule of Civil Procedure 11.

T agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

2-13-17 LE ng ELE —

Dated Plaintiff’s Signature
Fircdiv Lh LTA Y
First Name Middle Initial Last Name
»4 4
Gl SHtbhias fA

Street Address

Pitrlamn Cefn Lv x [orf L-
County, City _ State Zip Code
Gig) 440-059 SPLYRNSO@ Yecbe v. Carn
Telephone Number Email Address (if available}

T have read the attached Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
Ol Yes No

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 7

ar/@1/2a1aCase27:17-fee8S86ISNSR-PED Document1 Filed 12/14/17 Page 12 oP&3E 41/4

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
INTAKE QUESTIONNAIRE

Please immediately complete this entire form and return it to the U.S. Equal Employment Opportunity
Commission (“REOC"). REMEMBER, a charge of employment discrimination must be filed within the
time limits imposed by law, within 180 days or in some places within, 300 days of the alleged discrimination. When we receive
this form, we will review it to determine EEOC coverage. Ansver all questions completely, and attach additional pages if
needed to complete your responses. If you do not know the answer to a question, answer by stating *got known.” If a
question is not applicable, write “N/A.” (PLEASE PRENT)

1. Personal information

Last Name: /1p f A, A Fitst Namie: _faud (t.ta MI: {
Street or Mailing Address: “Gl SLehbins tA Apt or Unit #:
cy: Carme | County:  f tin am State: gy Zip: fe / 2.

Phone Numbers: Home: (7/5 if Fa — O35 F Work: ()

Cell: () Email Address: __& p / AQ se & yahoo Cam

Date of Birth: //- 2 7— LFEF Sex: fa Male O Female Do You Have a Disability? O Yes GrNo

Please answer each of the next three questions. i. Are you Hispanic or Latino? O Yes O No

ii, What is your Race? Please choose all that apply. 1 American Indian or Alaskan Native Cl Asian C) White
f#’Black or Aftican American (] Native Hawaiian or Other Pacific Islander

iii. What is your National, Origin (country of origin or ancestry)? Tam dicey)

Please Provide The Name Of A Person We Can Contact If We Are Unable To Reach You:

Narne: £ rue CO LY, & ra v4 Relationship: = L/ , Fe
Address: G L Std bea $ K df Cy: CAsmpe / State: ALY Zip Code: (7 I72-
Home Phone: G /4) Y ¥ f- Fo PF a Other Phone: ( )

2. Thelieve that I was discriminated against by the folloving organization(s): (Check those that apply)
Employer Cl Union C1 Employment Agency [ Other Please Specify)

Organization Contact Information ([f the organization is an employer, provide the address where you actually worked. If you
work from home, check here ( and provide the address of the office to which you reported.) If more than one employer is
involved, attach additional sheets,

Organization Name: Fglesé Coty fealty Trust

Address: County:

City: State: Zip: Phone: (___)

Type of Business: Real ESteat. Job Location if different from Org. Address:

Homan Resources Director or Owner Name: Phone: (_)

Number of Employees in the Organization at All Locations: Please Check (f) One
(1 Fewer Than 15 15 - 100 O 101 - 200 O 201 - 500 kf More than 500

' 3. Your Employment Data (Complete as many items as you are able.) Are you a federal employee? Ci Yes lf No
Date Hired: So" / 9 0G Job Title At Hire: O Parad sn 4 Exc eel”

Pay Rate When Hired: Last or Current Pay Rate: ~
Job Title at Time of Alleged Discrimination: bb. eferd M Aarasyt” Date QuitMischarged:
Name and Title of immediate Supervisor:
If Job Applicant, Date You Applied for Job Job Title Applied For

87/81/2019 CA$R27:17-RADIEHBNSR-PED Document1 Filed 12/14/17 Page 13 oPARE 42/64

4. What is the reason (basis) for your claim of employment discrimination?

FOR EXAMPLE, if you feel that you were treated worse than someone else because of race, you should check the box next to
Race. If you feel you were treated worse jor several reasons, such as your sex, religion and national origin, you should check
all that apply. If you complained about discrimination, participated in someone else’s complaint, or filled a charge of
discrimination, and a negative action was threatened or taken, you should check the box nest to Retaliation.

GRace O Sex DlAge 1 Disability [1 National Origin Religion 1 Retaliation (1 Pregnancy C) Color (typically a
difference in skin shade within the same race) O Genetic Information; cirele which type(s) of genetic information is involved:
i. genetic testing ii. family medical history iil. genetic services (genetic services means counseling, education or testing)

If you checked color, religion or national origin, please specify:

If yon checked genetic information, how did the employer obtain the genetic information?

Other reason (basis) for discrimination (Explain):

5, \What happened to you that you believe was discriminatory? Include the date(s) of harm, the action(s), and the name(s)
and title(s) of the person(s) who you believe discriminated against you. Please attach additional pages if neederl.

(kxample: 10/02/06 - Discharged by Mr. John Soto, Production Supervisor) Pp See

. e } , [? agptectA
A. Date: 2  ~ Ao/7% Action: easted pay [asf@e awd Patt oF LEP OL cares
Bonus eked out. Ldetely woittens Sukzpebia rucemplte: VC Fosl fevier?
Name and Title of Person(s) Responsible: Mint Sch motohe hel ~ Senlee VP
B. Date: Action:

Name and Tide of Perzon(s) Responsible

6. Why do you believe these actions were discriminatory? Please attach additional pages if needed.

Mistery with this Nuldved vce doll Lntehide be ae metind Anh Coy er:
Ciel to Lene Me Flor my positpn’ ye peo Lb

+, What reason(s) were given to you for the acts you consider discriminatory? By whom? His or Her Job Title?
Subgnethve feysere wil we Facts bb fetlew th Chatoote(” ELMKL,
PerSred Ofiaroe of MeN ablhty to attully Pbrtien a die To bee bene Ff”

3. Deseribe who was in the same or similar situation as you and how they were treated. For example, who else applied
for the same job you did, who else had the same attendance record, or who else had the same performance? Provide the
race, sex, age, national origin, religion, or disability of these individuals, if known, and if it relates to your claim of
discrimination. For example, if your complaint alleges race discrimination, provide the race of each person; if it alleges
sex discrimination, provide the sex of each person; and so on. Use additional sheets if needed.

Of the persons im the same or similar situation as you, who was treated beter than yout
Full Name Race, Sex, Age, National Origin, Religion or Disability Job Tide Description of Treatment

A.

a7/61/ 2018Case27:17-D4SLEGIBNSR-PED Document1 Filed 12/14/17 Page 14 oP&se 483/84

Of the persons in the same or similar sitwation as you, who was treated worse than you? |
Full Name Race, Sex, Ave, National Origin, Religion or Disability Job Title Description of Treatment

As

Of the persons in the same or similar situation as you, who was treated the saute as you?
Fuil Name Race, Sex, Ape, National Origin, Religion or Disahility Job Title Description of Treatment

Anawer questions 9-12 only if you are claiming discrimination based on disability. If not, skip to question 13. Please tell
us if you have more than one disability. Please add additional pages if needed.

9, Please check all that apply: 1 Yes, I have a digability
C1 Ido not have a disability now but I did have one
(1 No disability but the organization treats me as if I am disabled

10. What is the disability that you believe is the reason for the adverse action taken against you? Does this disability
prevent or limit you from doing anything? (¢.g., lifting, sleeping, breathing, walking, caring for yourself, working, ctc.).

HL. Do you use medications, medical equipment or anything else to Jessen ar eliminate the symptoms of your disability?
Cl Yes 1] No
If “Yes,” what medication, medical equipment or other assistance do you use?

12. Did you ask your employer for any changes or assistance to do your job because of your disability?
[Yes LJ No

If “Yes,” when did you ask? How did you ask (verbally or in writing)?

Who did you ask? (Provide full name and job title of person)

Describe the changes or assistance that you asked for:

How did your employer respond to your request’?

87/01/2818 CASe27:17-RABYSHANSR-PED Document1 Filed 12/14/17 Page 15 ofAfE 84/64

13. Are there any witnesses to the alleged discriminatory incidents? If yes, please identify them below and tell us what
they will say. (Please attach additional pages if needed to complete your response)

Full Name Job Titic Address & Phone Number What do you believe this person will tell us?

A. Me _

14. Have you filed a charge previously on this matter with the EEOC or another agency? [7] Yes No
15. If you filed a complaint with another agency, provide the name of agency snd the date of filing:

fhiet Mare ss hen? Claro Anette Copel” MGR dre Daly GIA tose Hin

16. Have you sought help about this situation fron a union, an attorney, or any other source? [1 Yes Bi No
Provide name of organization, nate of person you spoke with and date of contact. Results, if any?

Please check onc of the boxes below to tell ug what you would like us to do with the information you are providing on this
questionnaire. If you would like to file a charge of job discrimination, you must do so either within 180 days from. the day you
knew about the discrimination, or within 300 days from the day you knew about the discrimination if the employer is located in
a place where a state or local government agency entorces laws similar to the EEOC’s Jaws. If you do not file a charge of
diserimination within the time limits, you will lose your rights, Ef yon would like more information before filing a charge
or you have concerns about EEOC’s notifying the employer, union, or employment agency about your charge, you may
wish to check Box 1. If you want to file a charge, you should check Box 2.

BOX 1 C1 want to atk to an EEOC employee before deciding whether to file a charge. I understand that by checking this box,
[have not filed a charge with the EEOC. J also understand that T could lose my rights if T do not file a charge in time.

BOX 2 FT wane to file a charge of discrimination, and J authorize the EEOC fo look into the discrimination | described above.
T understand that the EEOC must give the employer, union, or employment agency that T accuse of discrimination
information about the charge, including my namie. T also understand that the EEOC can only accept charges of job
discrimination baged on race, color, religion, sex, national origin, disability, age, genetic information, or retaliation for opposing
discrimination.

KELLEY" Y- kT: 2017

Signature Today’s Date

PRIVACY ACT STATEMENT: This form ia cavarad by fhe Privacy Act of 1974; Public Law 93-579, Authorlly forraquesting personal date andl the uses thereofara:

{) FORM NUMBERMTITLE/DATE. EEOC Intake Questionnaire (Q/20/8}, 2) AUTHORITY, 42 U,5,C, § 20000-800), 29.8.0. § 241,29 U.S.C. § 623. 42USC. 1241 Ha)

3) PRINCIPAL PURPOSE, The pumose or this queationnaire is t golieit information aboul claims of employment discrimination, determine whathar Ihe EEOC has jurisdiction gver those
clairns, and provide charge filing counseling, ax appropriate. Consistent with 29 CFR 1801.12{b) ancl 29 GFR 1628.B{¢), this questionnaire may seve a6 2 charge if # meels the elerants ofa
charge. 4) ROUTINEUSES. EEOC may cisetose information from this form to other stele, local and fedaral agencies aa appropriate or necessary (6 carry out the Commission's functions, of
It EEOC becomes aware ofa civil or enminal law violation. EEOC may als disclose information to respondents in litigation, to congressional offines in responge fo inquiries fram parties te the
charge, to disciplinary sommitlees investigating complaints against allorneys ‘epranenting the parties to the chatga, or {0 federal agensies Inquking about hiring or sacurily clearance Maltars.
6) WHETHER DISCLOSURE IS MANDATORY OR VOLUNTARY AND EFFECT ON INDIVIDUAL FOR NOT PROVIDING INFORMATION, Providing this information ia voluntary out the
failure fo do 40 may hamper the Commission’ inivesiigation of a charge. ‘tis not mandatory shat this form be used to provide the raquasted informallon.

Aline FAO

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 16 of 31

As described on the intake form my recent review, which was scathing and unlike
any other review | have ever received within the company during my 28 years of
service offered the following:

Purposely and maliciously denied my compensation

Ignored my functions and accomplishments at the center

Attacked my professionalism, character,

Included inaccurate and un substantiated, vague information

Offered no action plan

Ignored any information from direct report of 8 months for the 2016,
An opportunity to exercise control and rebuke me on a personal level.

VVVVV VV

A rebuttal was sent in response to the review as I did not agree with the review and
I requested an action plan to address any items of substance for which no mention
of the rebuttal was ever had nor was an action plan ever established.

The SVP and myself have had weekly catch up meetings since September of 2016
and during those meetings no discussion of underperformance was ever a topic. The
kamikaze style attack and intentional decision to hold back rightfully earned
compensation this year is an atrocity and totally unacceptable and was malicious
and even more so insulting when my entire staff that I lead on a day to day basis
received their raises including those eligible for bonuses receiving them
accordingly.

In 2011 I was demoted to the assistants position by this individual who did not
think my property management experience was applicable to this project. When I
asked to return to my last position at that time I was asked to stay on at this project
as management felt I was needed there. In 2013 the project shifted back to Brooklyn
and a decision was made by the Brooklyn group to eliminate one of the managers
position and kept me in favor of the GM selected by the SVP. When the project was
being transferred back to Cleveland in 2015 an email was inadvertently sent to me
which had the C.0.0 in a trail of the company discussing my position coming to a
close circa March of 2016 stating “ You know how feel about him” with no contact
with that individual ever | cant imagine where he drew his opinion of me from. It
also came to my attention unbeknownst to the SVP that He had intended to move
the prior GM back to replace me even though I had been successfully managing the
project to that point.

The retail division as a whole in this company is underrepresented by people of
African descent and as a whole in the industry supporting the desire for a white face
to represent their facilities. The SVP and past antics of another regional manager in
this company directed towards me specifically within this organization clearly
outlines a culture conducive to this under belly of racist antics. Any investigation
will show my true value to this company and specifically to the project and yet Iam
constantly under scrutiny and undermining by this group which clearly identifies a
very toxic culture.

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 17 of 31

With comments like:

We need you to get in line.

“I don’t see you as a General Manager of a regional shopping center”
You Micro manage

You act like you're on an island.

You don’t know the marketplace

You don’t know the numbers

Your stubborn

You are unfamiliar with the Marketplace.

Asking me what does Andrew want during a conversation of what we do on
the day to day here. My answer was to work where I was wanted. The
response like the response to the review was silence.

VV VV VV VV WV

The SVP’s toxic and volatile behavior has created an environment of distrust
extending beyond myself and has purposely disengaged himself from creating an
action plan to promote an healthy environment for growth and has disregarded my
28 years of service.

His behavior has created undue stress, has impacted my quality of life at home and
at the job which is already high with the day to day activities we endure overseeing
major construction projects such as LOWE’S and other projects. I love what I do but
am finding it a burden to operate under such degrading conditions and management
who don’t see me for what I do or have accomplished over my 28 years with this
company but only the color of skin.
Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 18 of 31

In summary:

I believe the retail environment expects the GM to have a certain look of which I
clearly do not fit and in which the SVP would much prefer.

All [have done since this project opened is run it efficiently, effectively, creating
monetary saving initiatives in every aspect of the operation, lead the charge in year
over year sales growth, traffic growth and helped in maintaining a positive
environment for our customers to enjoy. All this, while managing a project that has
bounced back and forth between Brooklyn and Cleveland has struggled with
obtaining lease deals have gone through mergers, a joint venture, a transition to a
REIT and daily challenges beyond the norm.

Any thorough investigation will find that ] am viewed by those who work with me
on a daily basis as an influential, inspirational individual doing whatever is
necessary and supporting all aspects of this project whether it be construction and
development, operational or financial. I personally have sacrificed my time losing
over 21 days in 2016 with no gratitude spent countless hours helping to get
construction projects on schedule and have even been of assistance in designs that
professionals were struggling with. | have been a key liaison with city agencies
assisting in the expediting of plans and permits. Creating parking initiatives which
yielded over 300k in revenue only to be told that the initiative did not create the
windfall! with no proof as to what created the positive increase.

I believe with all I have contributed that my race is a barrier in the eyes of the SVP as
I don’t have the look he desires and since he is the face of upper management I feel
that it is systemic.

As this is one of multiple events I have had to endure since moving over into this
division and with one complaint already on the books with HR for similar behavior
(HARRASSMENT) I have no choice but to file a formal complaint against my
employer FC Realty Trust.

» A Demotionin 2011

>» Aharassment charge filed in 2014

> Amemo establishing my demise in 2015

> Anegative review for 2016 and damaging comments in the review.

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 19 of 31

Denial of my well deserved compensation

Lack of acknowledgement of my achievements of 2016

Lack of interest to even begin to understand my value to the project

Lack of understanding of what my job functions are a failure on the
manager’s part.

Inaction to my rebuttal of the negative review

No implementation of an action plan

A recent visit citing my incompetence was the cause of his visit

A confrontation during the visit citing that | agreed to my AGM going to HR
The question directed at me “What does Andrew Want”?

VVVVV VW VV

These and other historical actions have shattered my beliefin a company I once so
believed had the right vision and now seems to be spiraling away from their core
values and are comfortable in bullying tactics and abuse of their power to neutralize
people who don’t look like them and may have too much institutional knowledge for
their liking.

Sad and disturbing for sure.

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 20 of 31

TOLLING AGREEMENT
AGREEMENT made as of September 25 2017 (the “Effective Date”), by and
between Andrew Hardy (“Mr. Hardy”) and Forest City Realty Trust, its employees,
officers, agents, parents, and subsidiaries (collectively, “Forest City”) (Mr. Hardy and

Forest City, together, the “Parties”).

WHEREAS, Mr. Hardy believes he may have certain claims against Forest City,
inchiding, but not limited to, claims under Title VII of the Civil Rights Act of 1964, the
New York State and City Human Rights Laws, and claims arising under statutory,

common law, or otherwise (collectively, “Claims”); and

WHEREAS, in order to comply with the statute of limitations or other deadlines
applicable to the Claims, Mr. Hardy would be required to file a complaint or charge or
initiate an administrative action within the time periods provided under those statutes or

under the New York CPLR.

NOW, THEREFORE, IN CONSIDERATION OF THE MUTUAL

PROMISES STATED IN THIS AGREEMENT, IT IS AGREED AS FOLLOWS:

1, Mr. Hardy shall not serve or file a complaint or charge or commence any
other legal or agency proceeding with respect to any of the Claims before October 25,

2017. As used herein, the term “Resumption Date” shall mean October 25, 2017.

2. {a) In the event that the Parties fail to resolve the Claims and Mr.
Hardy commences a legal proceeding on or after the Resumption Date with respect to any
of the Claims, Forest City shall not contend (and Forest City hereby waives any right to

contend) that, solely by virtue of the passage of time between the Effective Date and the

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 21 of 31

Resumption Date, either that (1) any claim Mr. Hardy may assert is barred or (ii) any
administrative agency or court is without jurisdiction to entertain any claim Mr. Hardy

may assert solely by virtue of the passage of time between the Effective Date and the

iepete-of limitations or other

For the avoidance of. dou

Resumption Date.

deadlines with respect to Mr. Hardy's claims are tolled for a period of 30 days.

Nothing in this Agreement shall be deemed to revive any of the claims that are
barred as of the date of this Agreement.

(b) Forest City agrees not to oppose any good faith application Mr.

Hardy may make to any court to effectuate the waiver provided for by J 2(a).

(c}) Mr. Hardy agrees that Forest City is not waiving any defense
otherwise available to Forest City including, without limitation, lack of jurisdiction,
exhaustion of remedies, and statutes of limitations with respect to any limitations period

that expired prior to the Effective Date or after the Resumption Date.

3, Nothing in this Agreement shall be construed as an admission of liability

by Forest City as to the merits of any of Mr. Hardy’s Claims.

4, This Agreement shall be considered a part of the settlement process and
confidential between the Parties and is not admissible and may not be disclosed or
offered or received in evidence for any purpose except for the limited purpase of

enforcing its terms, and cannot be used for any other purpose.

5. The Parties to this Agreement represent that each of them has been
represented by counsel in connection with the making and execution of this Agreement

and has entered into this Agreement voluntarily and without pressure or duress from the

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 22 of 31

other party. The attorneys executing this document represent that they have the authority

to execute on behalf of their clients.

6. This Agreement constitutes the entire agreement between the Parties with
respect to the subject matter hereof, and supersedes all other prior discussions,

agreements, and understandings, both written and oral, among the Parties with respect

thereto.

7, All questions concerning the construction, validity, interpretation, or
performance of this Agreement shall be governed by New York law, without giving

effect to that state’s principles regarding conflict of laws.

8. No change or modification of this Agreement shall be valid unless it is

contained in writing and signed by the Parties hereto.

WHEREFORE, the Parties have entered into this Agreement on the date set

forth above.
” ANDREW HARDY FOREST CITY REALTY TRUST

7 hiv

Nicholas H. Sikon

Outten & Golden Benesch, Friedlander,

685 Third Avenue, 25" Floor Coplan & Aronoff LLP

New York, NY 10017 200 Public Square, Suite 2300
(T} 212-245-1000 Cleveland, OH 44114-2378
Attorneys for: Andrew Hardy (T) 216-363-4481

Attorneys for: Forest City

Dated: September ZS 2017 Dated: September oh , 2017

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 23 of 31

FORESTCITY

PAO Koy ex=1ne)uaat=Valex= wn Ald gr= |e ©) r= la loll aX=\dl=nu’mnoir- 1aler= | fe]

X= NVAL=N'Val k= 1000 Iam Vd VA Oo eeaad 14 kod VPA0 0)

rr REVIEWER
C)
(ay Y) Alan Schmiedicker (Manager)

Andrew Hardy

General Manager
Jobcode
Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 24 of 31

FORESTCITY

(OWT ay

Employee Details

Department NY Bldg Mgt Office Admn
SBU code New York

Location FC Yonkers Associates, LLC
Hire Date 3/6/1989

Manager Alan Schmiedicker

PNexevoy an} a) f=Vnl natn sey me Ley: | ty

Operations

continue to work on reducing energy expenditures and optimize each aspect of the operation to ensure that productivity and

asset preservation are secured.

Start Date Due Date Status
1/1/2016 12/31/2016 On Track
Progress Perspective

0% Operational Excellence

EN AEM! eh if als |

Andrew Hardy (Self) Goal partially completed

Alan Schmiedicker (Manager) Goal completed

Cfo} rea)

Andrew Hardy (Self):
Capital projects phase 1 complete and phase 2 street lighting substantially completed. Wall pack and exterior lighting

projects slated for 2017 will complete energy initiatives to reduce overall KWh consumption at the center.

Alan Schmiedicker (Manager):
Andrew understands operations and is very in touch with all things operations

CRM implementation in NY retail portfolio

Get trained in CRM and begin to load data into the system so that tenant information can be used by leasing and Asset

management team
Start Date Due Date Status
1/1/2016 12/31/2016 On Track

2016 Performance Wrap Up and Review Standard
Andrew Hardy

Page | 2 of 9

Case 7:17-cv-09801-NSR-PED Document 1 Filed 12/14/17 Page 25 of 31

FORESTCITY

Progress Perspective
0% Operational Excellence

tw ACMMete EAA

Andrew Hardy (Self) Goal partially completed

Alan Schmiedicker (Manager) Goal partially completed

lOrea pal

Andrew Hardy (Self):
No formal training was provided but was able to work with team to begin the process and will continue to werk through

for understanding of system as necessary.

Alan Schmiedicker (Manager):
The CRM team identified multiple opportunities for Andrew to get trained. For reasons not clear to me, there was no

formal training and Andrew continues to struggle with CRM. There has been some improvement recently, but much more

must be done to take full advantage use the system as expected

eXela Cola at eclalersmeots) bil acca leN id

Provide your overall assessment of performance for the review period (response required)

(@folnianletaies

Andrew Hardy (Self):
2016 was a transitional year between FC Enterprises and FCRC along with the QIC joint venture. Supporting the transition

and provisioning all the necessary information to successfully complete these transactions were rewarding.

Overseeing the Rockin’ JUMP project and ensuring a November open along with Managing the Lowe's project site delivery
on time and overseeing the commencement of Lowe's construction allowed me to utilize my skills to the fullest and support

the project fully.

I have learned that a project such as Ridge Hill provides access to every aspect of Retail and property management

and teaches me something different about the business on a regular basis.

OPTIONAL: Use this space to record additional goals worked on during the performance period
that are not already recorded in the Goals section

(Oy: 1 c=12) mn ALC) Repo)

Associate and manager: use the space below to describe and comment on future career
interests (response required)

LOrelailnateyabecs

2016 Performance Wrap Up and Review Standard Page |3 of 9
Andrew Hardy

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 26 of 31

FORESTCITY

Andrew Hardy (Self):
Career interests include continuing to be a team player working towards the common goal of making this project as

successful as possible.

Alan Schmiedicker (Manager):
Andrew needs to become more well rounded as a GM/Asset Manager. The position requires much more than an

operational outlook

CeTor ed TATA TS |

Holiday 2017

Work with management and Marketing to prepare for a Holiday season sans Dreamhouse.

Start Date Due Date Status
1/1/2017 8/1/2017 On Track
Progress Perspective

0% Other

LOWE'S OPEN

To successfully support Grand opening of LOWE'S HOME IMPROVEMENT on or around their scheduled open of mid to late
April.

Start Date Due Date Status
1/1/2017 4/20/2017 On Track
Progress Perspective

0% Other

Strategic plan

To work with senior management and leasing in the implementation of a strategic plan which will effectively strengthen the
retail at the Center allowing for an aggressive model to spur growth and create a spiraling effect in an area that struggles

the most at this project.

Start Date Due Date Status
1/1/2017 12/31/2017 On Track
Progress Perspective

0% Other

eds) OF ale Me) mLNateM ace) AC) au Cele) (Lats |

2016 Performance Wrap Up and Review Standard
Andrew Hardy

Page |4 of 9
.. Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 27 of 31

FORESTCITY

and stop. I know past supervisors have advised him of the same. No reason to continue talking to fill dead space.

Time Management -Andrew can be very difficult to get a hold of . [have personally left messages and sent emails that go
unanswered for significant periods of time (days). Others have told me they never get return calls. 1 am willing to believe
that this may be because Andrew is very busy, but no one is calling to just chat! There is a reason and Andrew needs to
answer calls and reply to emails at a much faster pace. No calls should go unreturned at the end of each day. Few, if

any projects are ever completed early. Almost all reports etc from RH come at the last moment or late. Calls are made

asking for the information on a consistent basis. Is Andrew spending enough time at the property?

Attention to Detail - Andrew does not pay attention to details. I have experienced this in many regards, but specifically in
dealing with Rent issues. He talks in generalities as opposed to real numbers. He submits numbers in deals that are not
correct, this is the result of Andrew not willing to get help and rely an others for information,

Failure to use team resources. There is no better description of this problem than Andrews failure to use the AR team in
Cleveland. They are experienced and assigned responsibility to assist the GM's in rent collection, Andrew does not use
them and their expertise. This results in addtl work being created at home office as deals have to be re-done to adjust for
correct numbers. Use the team in place and don't make it harder than it has to be. The AR team is there to help you do
your job. AR will be glad to wear the “black hat" and let you be the good guy with tenants that you deal with on a daily
basis. There has been some better communication with this team, but there is much more that must be done.

Lack of or failure to use Financial acumen - Get out of the Ops Manager mode. I need Andrew to become a GM/Asset
Manager. He spends too much time on operations and needs to have a better understanding of the numbers, Ido not
get the sense that he truly understands the cash flows. 2015 CAM reconciliations were difficult as improper coding was
supplied and had to be painstakingly corrected. Andrew needs to better understand the difference between invoicing for
office, mall and garage as we need thase calculations and coding done correctly. These skills will become even more
important with a transition to QIC and the requirements they have for reporting. Budget creation and monthly variance
reporting are a challenge for Andrew, Whether due to lack of true understanding of the numbers or a failure of spending

the proper time, I have very little faith that Andrew understands the financial information for Ridge Hill

Failure to Delegate - Andrew micro manages all aspects of the property and I fail to see that David Shore has control of
any aspect of the project. Is that due to failure to delegate on Andrews part or failure on David's part. I had one person
tell me "Andrew is a micro manager and not good at delegating.” A property of this size needs much help and David and
others need to be used to help. 1 have no direct conversations with David on any aspect of RH

land Team members in Cleveland are frustrated with Andrews performance. While Andrew is a quality individual, he needs
to improve his management skills and get with the regionai mall program methods of operation and reporting. He needs
to use the structure in place to make his job easier and not fight the system. He needs ta be timely in his responses bath
for calls and email correspondence, needs more active listening skilis, needs to be better at meeting deadlines and not
expecting everyone to adjust to his last minute needs, he needs to better understand the numbers, delegate more

responsibilities ta his team and in general use the team in place to help him accomplish the mission,

Andrew does not meet expectations for a GM at a regional shopping center such as RH. If Andrew cannot make these
improvements and changes it will be difficult for him to stay in his current position.

2016 Performance Wrap Up and Review Standard Page |6 of 9
Andrew Hardy

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 28 of 31

FORESTCITY

YAO) oy ex =) aco) MaatelarexsmNAN/ ira] 0 ©) OMr=| ale aXe\al=\larolt=laler= lie

I= NVAL= VN a1 0X0 roy A O)d oem 4 Kon WA OMA Ic6)

) 7) REVIEWER
for | Thomas Onorato (Manager)

Andrew Hardy

General Manager
Jobcode

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 29 of 31

FORESTCI

@ M2) a¥i (Nt

Employee Details

Department NY Bldg Mgt Office Admn
SBU code New York

Location FC Yonkers Associates, LLC
Hire Date 3/6/1989

Manager Thomas Onorato

yNoxexo yan} olla ealsy aime) ive rey) ty

General Manager

Ensure timely accounting information by working with newly appointed accounting team.

Start Date Due Date Siatus
1/1/2015 12/31/2015 On Track
Progress Perspective

0% Operational Excellence

OWE RET}
Andrew Hardy (Self) Goal completed
Thomas Onorato (Manager) Goal on track / in progress

Kern nie

Thomas Onorato (Manager):
Continue working with the accounting department to meet all deadlines

eel aol agate) aesweo ted lil neend (2a)

Provide your overall assessment of performance for the review period (response required)

(Orelelteet Gs
Andrew Hardy (Self):
T worked diligently with our accounting team to ensure that reports and all aspects of accounting were stabilized for 2015

and successfully met that goal despite administrative disruptions in the first quarter,

2015 Performance Wrap Up and Review Standard
Andrew Hardy Page| 2 of 4

Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 30 of 31

FORESTCITY

OPTIONAL: Use this space to record additional goals worked on during the performance period
that are not already recorded in the Goals section

Or 1 212) a ahks) Ryo)

Associate and manager: use the space below to describe and comment on future career
interests (response required)

Meters

Andrew Hardy (Self):
Continue to stabilize Ridge Hill and grow the asset.

Thomas Onorato (Manager):
I agree with Andrew that his main goal is to continue to develop the asset and run it in accordance with FCE policies

foF- Med ecLalal tare]

Operations

continue to work on reducing energy expenditures and optimize each aspect of the operation to ensure that productivity and

asset preservation are secured.

Start Date Due Daie Status
1/1/2016 12/31/2016 On Track
Progress Perspective

QO% Operational Excellence

Lede OF: Tae [iced annem pcAMA (cA MAIN CeX<u If ne]

OPTIONAL: Record additional questions or comments you wish to discuss in the review
meeting.

COFo} nfo) (eA aCe PLUAT EM aecN AL ee nee LoX ed Fe LCM Lat td U Cea dC) gts)

exe ao) aniteliereM ncenvA(eniarclaleme@xe)iiniteyihelay

Overall performance rating for review period

2015 Performance Wrap Up and Review Standard Page |3 of 4
Andrew Hardy
Case 7:17-cv-09801-NSR-PED Document1 Filed 12/14/17 Page 31 of 31

FORESTCITY

Thomas Onorato (Manager) Exceeds expectations

Thomas Onorato (Manager):
Andrew has continued to develop his retail] management skiils, and has over seen many construction projects and other

new programs curing this review period, all of which were highly successful.

Overall Rating

2015 Performance Wrap Up and Review Standard
Andrew Hardy

Exceeds expectations

Xx Far Gnoraia
Manager

“RED PSP ee
at fel) i AUF

Date

Aepcrew be
Associate

2015 Performance Wrap Up and Review Standard

Andrew Hardy Page |4 of 4

